       Case 1:19-cv-02987-CBA-LB Document 31 Filed 06/12/20 Page 1 of 6 PageID #: 357


                                              NEW YORK         CALIFORNIA     D E L AWA R E   GEORGIA        P E N N S Y L VA N I A




        Innessa M. Huot
        ihuot@faruqilaw.com
                                                                                                        June 12, 2020
        VIA ECF

        The Honorable Roanne L. Mann
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East, Courtroom #13C-S
        Brooklyn, New York 11201

                   Re:    Yelena Ruderman v. Law Office of Yuriy Prakhin, P.C., et al.,
                          Civil Action No. 1:19-cv-2987 (RJD)(RLM)

        Dear Judge Mann:

                Please see the attached additional documents which show that Defendants are not being
        fully truthful to the Court in their assertion that “Mr. Prakhin did not maintain this email account
        [prakhin@verizon.net] during the timeframe specified in the ESI Protocol.” ECF No. 30 at 2. The
        timeframe specified in the ESI Protocol is February 1, 2018 to the Present.

                   We look forward to addressing all other issues at the Court’s convenience.


                                                                    Respectfully submitted,


                                                                    Innessa M. Huot
        Cc:        Counsel of Record (via ECF)




685 THIRD AVENUE    NEW YORK, NY 10017   PHONE: 212.983.9330   FAX: 212.983.9331   EMPLOYEERIGHTSCOUNSEL.COM      FARUQILAW.COM
Case 1:19-cv-02987-CBA-LB Document 31 Filed 06/12/20 Page 2 of 6 PageID #: 358


 From:            irene gabo
 To:              Erica Larssen; Yelena Ruderman
 Subject:         Fwd: Silva Rapoport v. 8223 Bay Parkway, LLC ; Your Claim No: 30178489810-0001 ; Insured: Abland Management & Estates LLC ; Date of Loss: 04/24/2017 ;
                  Our Matter ID: S-EVER-00146
 Date:            Monday, November 5, 2018 12:17:01 PM
 Attachments:     1168589.docx
                  ATT00001.htm




 Sent from my iPhone

 Begin forwarded message:


        From: Irene Gabo <Irene@prakhinlaw.com>
        Date: November 5, 2018 at 7:13:38 PM GMT+2
        To: "irenegabo@msn.com" <irenegabo@msn.com>
        Subject: FW: Silva Rapoport v. 8223 Bay Parkway, LLC ; Your Claim No: 30178489810-0001 ; Insured:
        Abland Management & Estates LLC ; Date of Loss: 04/24/2017 ; Our Matter ID: S-EVER-00146




        -----Original Message-----
        From: Ursula A. Torruella [[mailto:utorruella@pmtlawfirm.com]
        Sent: Friday,
                   y, November 02, 2018 5:01 PM
        To: prakhin@verizon.net; Irene Gabo
        Cc: Wendy A. Eson
        Subject: Silva Rapoport v. 8223 Bay Parkway, LLC ; Your Claim No: 30178489810-0001 ; Insured: Abland
        Management & Estates LLC ; Date of Loss: 04/24/2017 ; Our Matter ID: S-EVER-00146

        Dear Prakhin:

        This is a follow up on the status of the Settlement Release sent on October 12, 2018. Has it been signed by your
        client?

        Please see attached. And please see below.

        Thank you,
        ___________________________________________________________________________________________________
        Dear Mr. Prakhin:

        Attached hereto please find the Release of All Claims to be executed by your client before a notary public. Please
        return to me, via email, together with an executed Stipulation of Discontinuance with Prejudice and your W-9
        Form. And please mail all originals to this office.

        I thank you in advance for your prompt attention.
 Case 1:19-cv-02987-CBA-LB Document 31 Filed 06/12/20 Page 3 of 6 PageID #: 359



 LAW OFFICE OF YURIY PRAKHIN, PC
 1883 86th Street, 2nd Floor
 Brooklyn, New York 11214
 Telephone Number: (718) 946-5099 Facsimile Number: (718) 373-7614
 Email: prakhin@verizon.net
                                                                     “Meliora Cogito”


                                                July 9, 2018


 JAMS
 Justice Allen Hurkin-Torres
 620 Eight Avenue, 34th Floor
 New York, NY 10018

Redacted as part of a mediation Statement
Case 1:19-cv-02987-CBA-LB Document 31 Filed 06/12/20 Page 4 of 6 PageID #: 360


 From:           Marina Pritsker
 To:             Yelena Ruderman
 Cc:             Erica Larssen; Patricia Belous
 Subject:        FW: Bortnick v. Jordan Schur Properties,LLC
 Date:           Wednesday, November 28, 2018 10:00:55 AM




 From: nmonell=recordpress.com@quickbasetools.com
 [mailto:nmonell=recordpress.com@quickbasetools.com]
                          p           q                On Behalf Of nmonell@recordpress.com
 Sent: Wednesday, y, November 28, 2018 9:11 AM
 To: prakhin@verizon.net; OffOffice Mail;
                                       l Yuriy Prakhin
 Subject:
     j     Bortnickk v. Jordan
                           d Schur Properties,LLC

 Hello Yuriy,

 Appellate Division - 2nd Department
 Index No: 515175/16
 NOA Dated: 10/18/2018

 Re: Bortnick v. Jordan Schur Properties,LLC

 I write to advise you that your appeal is due on or before
 4/18/2019. The expiration date is based on a calculation of six
 (6) months from the typewritten date on the Notice of Appeal.

 Our staff is seasoned in the court's procedural and unwritten rules. Please let me know if
 you are interested in utilizing our comprehensive appellate management services:

 • Record/Appendix Preparation                   • Covers/Printing/Perfect-Binding
 • Table of Contents                             • Compliance Review
 • Pagination & Headers                          • Creation of Brief Tables
 • Typesetting                                   • Court Filings & E*filings
 • NYSCEF Submissions                            • Track Court Decisions & Calendar Dates
 • Generation of Required Digital Briefs (bookmarked & hyperlinked to cases & authorities)

 Reply to this email if you would like an estimate.

 If the appeal in this case has already been perfected or settled,
 kindly alert us to the status of the appeal.

 Thank you very much.

 Regards,

 Natasha R. Monell, Esq.
Case 1:19-cv-02987-CBA-LB Document 31 Filed 06/12/20 Page 5 of 6 PageID #: 361


 VP, Staff Counsel
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Case 1:19-cv-02987-CBA-LB Document 31 Filed 06/12/20 Page 6 of 6 PageID #: 362


 From:            Sandra Beron
 To:              Kristina Hovsepyan; Erica Larssen; Patricia Belous; Marina Pritsker; Anna Broxmeyer; Lilit Avetisyan; Stephen Revis; Nick Serlin; Yelena Ruderman; Yesenia Olmedo; Gregory Nahas
 Subject:         Fwd: Law Office of Yuriy Prakhin PC (OpenRecords Portal)
 Date:            Thursday, December 13, 2018 11:44:36 AM




 Sent from my iPhone

 Sandra R. Beron, Esq.
 Law Office of Yuriy Prakhin, P.C.
 1883 86th Street, 2nd Floor
 Brooklyn, N.Y. 11214
 P: 718-946-5099
 F: 718-373-7614


 Begin forwarded message:


        From: FOILADMIN <FOILADMIN@dot.nyc.gov>
        Date: December 12,, 2018 at 3:12:55 PM EST
        To: "'prakhin@verizon.net'" <prakhin@verizon.net>, "'yp@prakhinlaw.com'" <yp@prakhinlaw.com>
        Cc: "'lilit@prakhinlaw.com'" <lilit@prakhinlaw.com>, "'kristinah@prakhinlaw.com'" <kristinah@prakhinlaw.com>,
        "'patricia@prakhinlaw.com'" <patricia@prakhinlaw.com>, "'rachel@prakhinlaw.com'" <rachel@prakhinlaw.com>
        Subject: Law Office of Yuriy Prakhin PC (OpenRecords Portal)


        Good Afternoon Sabina,


        As per our discussion today, you can submit new FOIL’s electronically to DOT via NYC's OpenRecords Portal at www.nyc.gov/openrecords. Once you
        submit a FOIL, you will automatically receive the FOIL number assigned to your request. You will also receive an acknowledgment letter within five
        business days.

        Please note that our Agency receives thousands of FOIL requests per year. Accordingly, we ask that you not submit duplicate requests via the Portal and
        Regular Mail (or any other method) as searching our requests for duplicate FOILs is an extensive process.


        If you have any questions on how to submit a FOIL electronically, via NYC’s OpenRecords Portal please contact us at 212-839-9850.




        Thank You,

        Megan Garcia
        NYC Department of Transportation
        FOIL Unit
        55 Water Street 4th Floor
        New York NY 10041


        Please do not reply to this email. If you have any questions regarding this FOIL request, please contact us at 212-839-9850.


        *************************************************************************************************************************************************************************

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        recipient, any disclosure, copying, use or distribution of the information included in this message and any attachments is strictly prohibited. If
        you have received this communication in error, please notify us by reply e-mail and immediately and permanently delete this message and
        any attachments.

        Thank you.



        NYC – Department of Transportation

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